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        EXHIBIT A
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I2
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l3
T4
                                    SUPERIOR COURT OF CALIFORINA
15
                                        COUNTY OF'MONTEREY
T6

l7     JESSICA KONEN and A.G., her minor child,             Case No: 22CV001813
18
                      Plaintiffs,                                          COMPLAINT
l9                    v.
                                                            42 U.s.C. $ 1983; 42 U.S.c. $ 198s(3));
20
       LORI CALDEIRA, in her personal capacity;             INTENTIONAL INFLICTION OF
2l     KELLY BARAKI, in her personal capacity;              EMOTIONAL DISTRESS / GOV'T
       KATELYN PAGARAN, in her personal                     CODE $ 815.2; NEGLIGENCE / GOV'T
22                                                          CODE $ 815.2; NEGLIGENCE PER ,SE /
       capacity; and SPRECKELS UNION
       SCHOOL DISTRICT,                                     GOV'T CODE $$ 81s.2 AND 815.6;
23
                                                            BANE ACT /GOV'T CODE $ 815.2;
24                    Defendants.                           CIVIL CONSPIRACY
25                                                                DEMAND FOR JURY TRIAL
26
27          Jessica Konen and A.G., her minor child (collectively, "Plaintiffs"), through their

28   counsel, state the following claims for relief against Lori Caldeira, in her personal capacity;



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     I    Baraki, in her personal capacity; Katelyn Pagaran, in her personal capacity; and the Spreckels U

     2    School District (collectively, "Defendants"):

     J                                             INTRODUCTION
 4                l.     Ms. Konen brings this action to vindicate her fundamental right under the

     5    Amendment to the United States Constitution to direct the upbringing of her minor child, A.G

 6        Defendants, teachers and administrators at A.G,'s middle school, along with the school itself,

 7        convinced A.G.-who was l1 years old at the time-first, that she was bisexual and, later, that sh

 8       was transgender-i.e., that her gender did not correspond with her biological sex. Despite

 9       profound mental stress these actions inflicted on A.G., Defendants attempted to counsel A.G

10       themselves, without her mother's involvement, instructing A.G. that she must not tell her mother,

11       closest confidant, about her new supposed gender identity.

t2               2.     At Defendants' sustained urging and direction, A.G. assumed a new gender identity
t3       different from her biological sex, including assuming a new name associated with her new

l4       identity and going by new pronouns. Defendants began referring to A.G. by her new name

15       pronouns, changed A.G.'s name in certain educational records, and arranged for A.G. to use the

t6       bathroom at school that was otherwise reserved for teachers, all without informing or consulting

l7       her mother, Ms. Konen,

18               3.     In fact, Defendants attempted to actively deceive Ms. Konen of A.G.'s new
19       identity by using A.G.'s birth name and comesponding pronouns in her (Ms. Konen's) presence whi

20       using A.G.'s new name and pronouns when she (Ms. Konen) was not present, by instructing A.G.

21       she must not tell her mother about her new gender identity, and by otherwise concealing

22       regarding A.G.'s new gender identity from Ms. Konen.

23              4.      Ms. Konen supports her daughter, regardless of the decisions she makes. Ms
24       simply wants to be a part of her daughter's life and exercise her rights as a parent to direct

25       upbringing of her child. Defendants denied Ms. Konen of that right during a crucial phase of A.G.,

26       development, choosing for themselves how to direct A.G.'s upbringing regarding the major I

27       decision of A.G.'s gender identity, and concealing critical facts from Ms. Konen, her parent.

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     1            5.      In addition to violating Ms. Konen's right to direct the upbringing of her minor child
     2    Defendants' actions also violated Ms. Konen's and A.G.'s rights under federal and state law anc
     a
     J    inflicted serious emotional and mental harm upon them. Plaintiffs also seek vindication of these rights

     4                                        JURISDICTION AND VENUE
     5            6.      Plaintiffs seek redress for injuries suffered from the deprivation, under color of state
     6    law, of rights secured by the Due Process Clause of the Fourteenth Amendment to the United

     7    Constitution and from violations of other federal and state laws. The Court has jurisdiction over this

     8    matter pursuant to Article vI $ l0 of the california constitution.

     9            7.     Venue is proper in this Court pursuant to California Civil Code
                                                                                            $$ 3g3-3g1 because the
 10       injuries alleged herein occurred in Monterey County, California.

 l1                                                      PARTIES
t2                8'     Jessica Konen is a resident of Monterey counfy, california.

l3               9.      A.G. is Ms. Konen's minor child. A.G. resides with her mother in Monterey County
14       California.

15               10.     Spreckels Union School District ("spreckels Union") is a school district under

l6       California law located in Monterey County, California. Buena Vista Middle School ("Buena Vista,,)

l7       is a middle school (sixth through eighth grades) located in Monterey County, California and withir

18       Spreckels Union' A.G. attended Buena Vista from the fall of 2018 to the spring of 2021for the sixth

I9       through eighth grades.

20               11. At all times relevant herein, Katelyn Pagaran was the Principal of Buena Vista, an
21       agent, servant, and I or employee of Spreckels Union, and acting in the scope of her authority. On

22       information and belief, based on her role as Principal of Buena Vista, Pagaran, among others,

23       responsible for implementing the policies, practices, customs, and procedures of Spreckels Union in

24       effect at Buena Vista as adopted by others, for overseeing the educational environment and the

25       performance of teachers and counselors, for the training and / or supervision of employees at Buena

26       Vista, including, but not limited to, Defendants Lori Caldeira and Kelly Baraki, and for the acts she

27       committed that resulted in the deprivation of Plaintiffs' rights as set forth herein.

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     1            12. At all times relevant herein, Lori Caldeira was a teacher at Buena Vista, an
     2    servant, and / or employee of Spreckels Union, and acting in the scope of her authority. Cald
     a
     J    among others, is responsible for implementing the policies, practices, customs, and procedures

 4        Spreckels Union at Buena Vista as adopted by others and for the acts she committed that resulted

 5        the deprivation of Plaintiffs' rights as set forth herein.

 6                13. At all times relevant herein, Kelly Baraki was a teacher at Buena Vista, an
 7        servant, and / or employee of Spreckels Union, and acting in the scope of her authority. Baraki, am

 8       others, is responsible for implementing the policies, practices, customs, and procedures of Spreckel

 9       Union at Buena Vista as adopted by others and for the acts she committed that resulted in
10       deprivation of Plaintiffs' rights as set forth herein.

11                                               STATEMENT OF FACTS
t2                                Spreckels Union Adopts the Parental Secrecy Policy

l3                14.     spreckels union adopted and implemented a policy, practice, procedure,
t4       custom at Buena Vista under which teachers and staff would keep certain information about students

15       gender identity and expression secret from parents (the "Parental Secrecy Policy"). Under the

t6       Secrecy Policy, Spreckels Union teachers and staff at Buena Vista would conceal from parents

l7       their minor children had articulated confusion about their gender identity, evinced a desire to

l8       their gender identity, or assumed or expressed a new gender identity, unless the student expres
t9       authorized the parents to be informed.

20               15. Despite keeping this information secret from parents, Spreckels Union and its
2I       and staff at Buena Vista would enable minor children to change their gender identity and

22       at school by, among other things: (a) affirming students' gender confusion and compounding

z3       confusion by encouraging students to transition gender identities; (b) addressing students by any

24       names associated with their new gender identity that they wanted to be called; (c) addressing

25       by pronouns the students indicated they wished to be called by; (d) changing educational records

26       reflect the students' new name and pronouns; and (e) pushing these students to use the unisex

27       otherwise reserved for teachers.

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      1            16. In addition, Spreckels Union and its teachers and staff at Buena Vista
     2     intentionally deceive parents regarding students' new gender identity and expression by, among
     a
     J     things, not publishing the Parental Secrecy Policy on the Spreckels Union website, using students

     4     birth names and pronouns in communications with parents despite using students, new names

     5     pronouns when parents were not there, instructing students they were not to tell their parents

     6     their new gender identity or expression because their parents "couldn't be trusted,,, and

     7     concealing those facts from parents.

     8             l7       The Parental Secrecy Policy, as described above and as adopted by Spreckels Un

     9     authorizes minor children to make mature, consequential, and potentially life-altering

 10        as what gender to identify as; how to express their gender identity, including, but not limited

 11        females binding their breasts so they look more like males; what name to be called; what pronouns

 l2        use; and what privacy facilities to use-with no notification to or input from parents.

 t3               18. On information and beliet based on her role as Principal of Buena Vista, pagaran
l4        the Spreckels Union employee responsible for overseeing the implementation ofthe parental

15        Policy at Buena Vista (although not for adopting the Parental Secrecy Policy, which would have b

l6        undertaken by the Spreckels Union Board of Trustees), for overseeing the educational

t7        and the performance of teachers and counselors, including, but not limited to Caldeira and
                                                                                                       Baraki,
1B        for ensuring that teachers and staff, including but not limited to Caldeira and Baraki, were trained

t9        the Parental Secrecy Policy.

20                19. Pagatan, Caldeira, and Baraki, among others, implemented the parental Secrecy poli
21        at Buena Vista.

22                      Caldeira and Baraki Operate the Equality Club and Hide it From Parents
23               20.       Caldeira and Baraki are seventh-grade teachers at Buena Vista. In addition to

24        Caldeira and Baraki operated the Equality Club, a school-based club for students comprised primari

25        of students that Caldeira and Baraki had identified as students who they believed might be

26        to ideas such as homosexuality, bisexuality, transgenderism, gender non-conformity, etc.

27               21.       Caldeira and Baraki identified students for the Equality Club based on comm

28        students made to them, comments that they overheard students make to others. and their

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 1   observations of students in the classroom setting, and otherwise. Once they identified students for the

 2   club, Caldeira and Baraki would invite them to participate. In addition, often at Caldeira's and
 a
 J   Baraki's suggestion, students already in the Equality Club would recruit other students to attend
 4   Equality Club meetings.

 5           22. At Equality Club meetings, Caldeira and Baraki would, among other things, discuss
 6   issues related to homosexuality, bisexuality, transgenderism, gender non-conformity, etc. Through

 7   these discussions, Caldeira and Baraki coached students on how to express those identities. Caldeira

 8   and Baraki instructed students to research a particular topic and then have follow-up discussions with

 9   the student about that research.

10           23.     Sometimes, Caldeira and Baraki would introduce and push identities on students, and

11   the students resisted.

l2           24. Caldeira and Baraki took measures to keep students' participation in the Equality Club
T3   and student's new gender identities secret from students' parents. Specifically, Caldeira and Baraki:

t4   (l) instructed students that they should not tell their parents about their new gender identities; (2)
15   purposefully failed to keep Equality Club rosters or records so that parents could not discover their

l6   children's participation in the club or new gender identities; and (3) held Equality Club meetings

l7   during lunch-as opposed to after school when other student clubs meet-so that students, who were

18   too young to drive, did not have to ask their parents to pick them up so they could better hide theil

t9   participation in the club and their new gender identities.

20          25. Caldeira and Baraki took these measures because they knew some children's parent!
2t   would not want their children to participate in a club in which homosexuality, bisexualityl
22   transgenderism, gender non-conformity, etc., were being promoted or to adopt these identities.l

23          26. Pagaran was aware of the Equality Club and Caldeira's and Baraki's tactics as set fortl    l




24   above and approved of them. In fact, Pagaran frequently attended Equality Club meetings.              I




25                                                                                                         I


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     MangedthenameoftheEqualityClubtotheUBU(or,..YouB.You,,l
27   Club. On information and belief, based on news reporting discussed in Paragraphs 57-64, Caldeirl
     and Baraki changed the name of the club because parents had begun to learn about the goings on o{
28   the Equality Club, and they changed its name an effort better to avoid parental knowledge.
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     I    Caldeira and Baraki Begin Secretly Influencing A.G. and Instructing her to Hide Information

 2                                                   from Ms. Konen
 a
 J                27.     A.G. started school at Buena Vista in the sixth grade during the 2018-2019 schoolyear

 4       At the time, A.G. was l l years old.

 5                28. Near the beginning of A.G.'s sixth-grade year, she attended an Equality club m
 6       at the invitation of a friend. Initially, A.G. was not interested in the discussion, and she decided not

 7       come back to the club. About two weeks later, Caldeira approached A.G. and asked her to come

 8       to the club. Caldeira told A.G. that she "fit in perfectly." A.G. agreed to come back at Caldeira'

 9       direction, and she began attending Equality club meetings on a regular basis.

t0                29. At these meetings and in other discussions, Caldeira and Baraki told A.G. that she
1l       bisexual. That idea did not originate with A.G. In fact, she did not fully understand what that

t2       meant.

t3                30. Shortly thereafter, Caldeira and Baraki told A.G. that she was transgender-i.e.,
14       her gender did not match her biological sex. As with the bisexual label the teachers applied to A.G.

15       the idea that A.G. was instead transgender, did not originate with A.G., nor did A.G. fully

t6       what it meant.

l7                31. At the time Caldeira and Baraki labeled A.G. transgender, A.G. was pre-pubescent.
18                32. By the spring of 2019, A.G. went to a Buena Vista school counselor complaining
t9       depression and stress. A.G. began attending weekly counseling sessions with the school

20       and, after the sessions with the counselor, Caldeira and Pagaran would often have follow-up

2t       with A.G. and the school counselor regarding the same topics that were discussed in the couns

22       sessions. During those meetings, the counselor and Caldeira informed A.G. that the feelings she

23       having were because she was o'not being who she was" and that if she became her "true self,"

24       depression and stress would be better (or words to that effect).

25                33. Caldeira and Baraki encouraged A.G. to change her name to a boy's name as
26       expression of the new identity they were encouraging her to take on. A.G. assumed the name "S.G.

27       and began wearing boys' clothing. At first, A.G. used the name S.G. at Equality Club and among

28       friends only. Caldeira and Baraki also began refening to A.G. as S.G.

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      I            34. Caldeira and Baraki instructed A.G. not to tell her mother about her new gender
     2     or new name, saying that her mother might not be supportive of her and that she couldn't trust h
     a
     J     mother. They instructed A.G. that she should instead talk to them if she had anything she needed

  4        talk about. Caldeira and Baraki were teachers, and A.G. trusted their authority over her. Accordingly

     5     she complied with this directive.

  6               35'     On information and belief, based on Pagaran's role as Principal of Buena
  7        involvement in the Equality Club, and involvement with A.G.'s counseling, Pagaran was aware

  8        Caldeira and Baraki gave A.G. these instructions about concealing the new identity from her

  9       and approved of them.

 10               36. Caldeira signed A.G.'s Buena Vista's 2018-2019 yearbook, writing "S.G., Stay you
11        Looking forward to working with you next year.,,

t2            Defendants Formally Acknowledge A.G.'s New Name/Pronouns and Attempt to Hide the

13                                             Information from Ms. Konen
l4                37. For A.G.'s seventh-grade year, which was the 2019-2020 school year, Caldeira
15        Baraki were two of her teachers. For this reason, they had more interaction with A.G. during thatyear

t6        and they were able to form a closer relationship with her.

l7                38. Over the summer of 2019, A.G. received correspondence from Buena Vista
18        the upcoming school year. After receiving this corespondence, A.G. emailed Caldeira to ask her

t9        name she should write on her school materials in light ofthe fact she was now going by S.G. in

20        school settings. Caldeira instructed A.G. to "write whatever your mother will approve, and we,ll

2t        it when you get to school" or words to that effect.
'))               39. caldeira also emailed A.G. a Gender Support plan, which is a Buena vista
23        designed to govern how the school will treat students who want to identify as new gender. The

24        Support Plan contained questions regarding student preferences on such matters as their

25        name' pronouns, and restrooms, and whether students want their preferences to be made known

26        other teachers and administrators.

27               40, Ms. Konen was not informed of the Gender Support plan.
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     I    Caldeira referred to A.G. as "A.G." and used female pronouns to refer to her in an effort to decei

     2    her about A.G.'s new identity and expression.
     a
     J            45'      In one in-person meeting with Ms. Konen, Caldeira accidentally referred to A.G.
     4    S.G. She realized the mistake, and quickly moved on. The next day, Caldeira told A.G. that she
     5    "messed up" in the conversation with her mother.

     6           46.       On information and belief, based on her role as Principal of Buena Vista, invol

 7        in the Equality Club, and involvement in A.G.'s counseling, Pagaran knew about this deception of Ms

     8    Konen and approved of it.

 9               47    '   Early in A.G.'s seventh-grade year, during Caldeira's English class, Caldeira gave A.G

10       a print-out of approximately   five articles on adopting a new gender identity and instructed her to
11       them. The articles included such topics as approaches children could take to hide their new

12       identiS' from parents. A.G. informed Caldeira that she did not want to read the articles, but

13       insisted. Caldeira also instructed A.G. to keep the articles with her school papers so her mother

t4       not discover them. A.G. complied with this directive.

15               48.       Caldeira also gave A.G. advice on how to bind her breasts so that she would look

t6       like a boy.

l7               49.       In the fall of 2019, A.G. informed caldeira that she wanted her mother to know

18       her new gender identity. Caldeira instructed A.G. not to tell her mother. A.G. complied with

t9       directive.

20               Pagaran and Caldeira Arrange for Ms. Konen to be informed of her daughterrs

2l                                                 new gender identity
))               50. on or about December 18,2019, Pagaran called Ms. Konen to her office to
23       A.G. Pagaran did not inform Ms. Konen what the meeting was about. Caldeira was present at
24       meeting. A.G. was also called to the meeting, although she also was not informed what it was

25       At the meeting, Caldeira and Pagaran informed Ms. Konen that A.G. was now S.G., that Buena V
26       was referring to her daughter by her new name, that Buena Vista was referring to her daughter

27       male pronouns, and that she would be using the unisex teachers' bathroom.

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 I           51. Ms. Konen was taken aback by this news, and she reasonably believed that if she dic
 2   not process what was going on quickly enough, Defendants would attempt to have her daughter taker
 a
 J   from her. She was supporlive of A.G, and as a show of that support, she authorized an"alWa" of S.G

 4   to be added to A.G.'s attendance roster, although she did not approve of any other changes to Buenz

 5   Vista's records. Defendants, however, went further than Ms. Konen's wishes and arranged for A.G.'s

 6   name to be changed to S.G. in Buena Vista's formal records, including progress reports, report cards

 7   and her Google Meet online identity, and for A.G. to be given new email address with the name S.G.

 8            52. On information and belief, based on her role as Principal of Buena Vista, involvemenl
 9   in the Equality Club, and involvement in A.G.'s counseling, Pagaran authorized these actions.

10           53. On or about March 13, 2020, Buena Vista, like other schools in California, begar
1l   remote learning in response to the coronavirus pandemic. When students were engaged in online

12   learning, teachers are able to see what students are doing on the internet through an application callec

l3   Go Guardian. Caldeira and Baraki secretly used Go Guardian to pay close attention to the type ol

t4   information that A.G. was looking up on the internet in order to better be able to continue to influence

15   her in the distance learning environment.

l6           54. Over the remainder of the 2019-2020 school year, Ms. Konen had emai
I7   correspondence with Caldeira regarding A.G. In that correspondence, Caldeira refered to A.G. by the

18   name S.G. and used male pronouns to refer to her.

l9                           A.G. is Freed from Caldeira's and Baraki's Influence

20           55. For the 2020-2021 school year, A.G.'s eighth-grade year, Buena Vista continuec
21   remote operations, and if students chose, they could stay remote forthe duration of that school year

22   A.G. chose to be remote for the entire school year. Although distance learning was difficult for A.G

23   (like many students), there was a silver lining-because A.G. was at home throughout the school day

24   she was no longer in the clutches of Caldeira and Baraki. Freed from their influence, A.G. began tc

25   return to her original self.

26           56. A.G. started high school in the fall of 2021in a new school district. At her new school,
27   A.G. goes by the name "A.G." and uses female pronouns. A.G. is confused about issues relating tc

28   her sexuality and gender, a confusion that Defendants caused. A.G. was pressured by Defendants intc

                                                        11

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 I   portraying a character they created, a character that, by being inhabited and hidden from her mother

 2   has taken on elements of reality that A.G. must now learn to understand and live with
 a
 J                             The California Teachers Association Conference

 4           57.     On information and beliet based on news reporting regarding the event, on Octo

 5   29-31,2021 , the California Teachers Association ("CTA") held a conference in Palm Springs, F

 6   called "2021LGBTQ+ Issues Conference, Beyond the Binary: Identity & Imagining Possibilities.'

 7   Among other things, the CTA Conference involved best practices workshops that encouraged

 8   to "have the courage to create a safe environment that fosters bravery to explore sexual

 9   gender identity and expression."

10           58.     On information and belief, based on news reporting regarding the event, Caldeira

11   Baraki led a workshop at the CTA Conference, titled "How we run afn Equality Club] in Conservati

12   Communities." The workshop focused on how Caldeira and Baraki ran the Equality Club in such

l3   way as to avoid parental detection.

t4           59.      On information and belief, based on news reporting regarding the event, in
15   workshop, Caldeira admitted that she and Baraki intentionally kept no club rosters for the Equali

t6   Club and that they instructed club participants not to disclose information or documentation

17   the club to their parents in order to limit parental knowledge of its workings. Caldeira admitted

18   the reason she and Baraki took these measures was because some parents might not want their

t9   to be participants in such a club.

20           60.     On information and belief, based on news reporting regarding the event, in
21   workshop, Caldeira admitted that, because attendance at the Equality Club was down toward the

22   of the 2019-2020 school year, in order to boost club attendance, she and Baraki "stalked
ZJ   [students] were doing on Google" when students were doing distance learning in an effort to

24   candidates for the club and to help them determine how best to coach students to pursue a new

25   identity, among other things.

26           61. On information and belief, based on news reporting regarding the event, in
27   workshop, Baraki admitted that she and Caldeira also used their "observations of kids in

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     1   classroom" to determine which students to invite to the Equality Club. Baraki admitted that students

     2   often don't want to attend on their own and "need soft of a little bit of an invitation."
     a
     J               62. On information and beliet based on news reporting regarding the event, in the
     4   workshop, Caldeira admitted that she volunteered to run morning announcements at Buena Vista so

     5   that she would be in a position to "control[s] the messaging." That way, she said, she could "control

     6   the information that goes home."

     7               63. On information and belief, based on news reporting regarding the event, a recording
     8   was made of Caldeira's and Baraki's presentation at the CTA conference.

     9               64. Or about November 78, 2021 , news reports began being published regarding the CTA
10       Conference based, in paft, on the recording. The news repofts focused on Caldeira's and Baraki's

11       efforts to convince students to identi$ as homosexual, bisexual, transgender, gender non-conformists,

t2       etc., and to keep that information secret from parents.

13                   65. Plaintiffs do not have first-hand knowledge regarding the events of the CTA
t4       conference. They base their allegations regarding the goings-on at the conference from the news

l5       reports ofthat event that they have read.

t6                   66, Ms. Konen and A.G. became aware of the news reports soon after they were published.
17       Since that time, Ms. Konen and her daughter have discussed Defendants' activities in coaching A.G.

18       to believe she was bisexual and transgender, efforts to convince A.G. to believe that Ms. Konen would

t9       not be supportive of her, and efforts to conceal A.G.'s new gender identity, new name, use of pronouns,

20       and use of the unisex teachers' bathrooms, none of which Ms. Konen knew before. Fufther, based on

2t       the news reports, A.G. has come to rcalize that Defendants pushed the new gender identity upon her

22       rather than the idea originating with her. Prior to reading these news reports, Plaintiffs did not know

z)
^a       these facts and were unable to learn them through the exercise of reasonable diligence.

24                   67. Plaintiffs'claims as set forth herein did not accrue until November 18, 2021, atthe
25       earliest.

26                                             Ms. Konen's and A.G.'s Harm

27                   68. Ms. Konen respects her daughter's life choices and is supportive of her, no matter what
28       those choices ultimately may be. Ms. Konen simply wants to be involved in A.G.'s life and assist her

                                                              l3
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     1    with those choices that have fundamental importance to the rest of her life, such as her gender identity

 2        including, if necessary, seeking professional mental and spiritual health guidance and assistance
 a
 J        assist both A.G. and herself through the process. Defendants, however, deprived Ms. Konen of

 4       right, foisting a new gender identity upon A.G. and concealing that fact from Ms. Konen, depriv

 5       her of her daughter's trust during a crucial phase of her development, causing great harm to

 6       relationship with her daughter, and disrupting the integrity of her family.

 7               69.     Defendants' acts have driven a wedge between Ms. Konen and her daughter,

 8       the message to A.G. that her mother cannot be trusted and does not support her, and Ms. Konen'

 9       relationship with her daughter has been seriously damaged because of Defendants' actions as set

l0       herein. By cutting Ms. Konen out of the decision-making process for A.G. on matters as intimate

11       consequential as gender identity, Defendants have caused Ms. Konen and A.G. to suffer

12       emotional distress, mental anguish, psychological damage, and damage to their family dynamic

t3       such a substantial or enduring quality that no reasonable person in a civilized society should

t4       expected to endure it and reasonable people would be unable adequately to cope with it.

15               70. Defendants caused Plaintiffs harm that will require separate counseling and healing
t6       Both Ms. Konen and her daughter have sought guidance from their pastor in attempting to

t7       the harm set forth herein, and they are likely to continue seeking such guidance in the future,

18       other potential mental health treatment. In addition, A.G. has required professional care and trea

t9       from medical providers, which Ms. Konen has been required to pay for, and she is likely to

20       requiring such care and treatment in the future.

2t                            Exhaustion of Claims Under the Government Claims Act

22               71. On January 79,2022, Plaintiffs, through their undersigned counsel, presented a
ZJ       under the Government Claims Act to Spreckels Union based on the facts alleged herein. The

24       (1) was made on the claim form published by Spreckels Union pursuant to Gov't Code $ 910.4; (2

25       complied or substantially complied as to form and content with Gov't Code $$ 970,970.2,910.4

26       all other provisions of law; (3) was mailed, first class mail through the United States Post Office,

27       Spreckels Union at the address set forth on the claim form in compliance or substantial comp

28       with Gov't Code $ 915(a)(2); and (4) was emailed to the email address of Spreckels Union's

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 I   manager, who was designated as the recipient on the Spreckels Union clairn form. Plaintiffs thu

 2   complied or substantially complied with all claim presentation requirements.
 a
 J           72.     Spreckels Union did not respond to the claim within the 45-day period set forth in Gov'

 4   Code $ 9n. @) or the additional grace period set forth in Gov't Code g 9 I 5.2(b).

 5           73. Under Gov't Code $ 912.4(c), Spreckels Union's failure to act on Plaintiffs
 6   within the time period provided by law is deemed a rejection of the claim. Accordingly, the claim i

 7   exhausted.

 8                                                  CLAIMS
 9                                       FIRST CAUSE OF ACTION
l0                      VIOLATTON OF CrV[ RIGHTS UNDER 42 U.S.C. $ 1983
11               (Substantive Due Process Right to Direct the Upbringing of One's Children)

t2           74.     Ms. Konen incorporates all allegations of this Complaint by reference as if set forth

l3   full herein.
t4           75.     The Due Process Clause of the 14th Amendment to the United States

15   protects the fundamental rights of parents to direct the upbringing of their children; to make dec

l6   concerning the care, custody, and control of their children; to direct the medical and mental

t7   decision-making for their children; and to make private familial decisions regarding their chi

18   without interference by the state, among other things.

l9           76. Defendants have infringed upon Ms. Konen's parental rights under the Due
20   Clause by, among other things: (1) manipulating A.G. into believing she was bisexual and that

21   gender did not match her biological sex; (2) excluding Ms. Konen from discussions regarding A.G.'

22   asseftion of a new gender identity and expression and adopting protocols aimed at

23   affirming A.G's new gender identity and expression; (3) deceiving Ms. Konen by instructing A.G.

24   to tell her about the new gender identity and expression; (4) deceiving Ms. Konen by refening to A.G

25   by one name and pronouns in communications with her while refening to A.G. by a different

26   and pronouns outside of her presence; (5) usurping Ms. Konen's responsibility for the health and

27   being of A.G. and seeking to supplanttheir authority forMs. Konen's authority as parentto be

28   ultimate decisionmaker regarding A.G.'s mental health and well-being, including decisions related

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     I    A.G.'s gender identity and expression and mental health; (6) impermissibly injecting themselves i

 2        the private realm of Ms. Konen's family and usurping Ms. Konen's right to make decisions regard
 a
 J        A.G.'s gender identity and expression and mental health and well-being; (7) informing A.G. that

 4        mother did not o'support" her sufficiently to participate in decision-making related to her gen

 5        identity and expression, thereby sowing seeds of doubt in A.G.'s mind about whether Ms. Konen

 6       acting in her best interest and creating a rift in the parent-child relationship; and (8) failing

 7       adequately train and / or supervise Caldeira and Baraki in such a way that they were permitted

 8       commit the violations of law set forth herein despite knowing their dangerous proclivities

 9       deception ofparents.

10               77. Defendants have no compelling, significant, important, or legitimate interest that i
ll       served by disregarding Ms. Konen's constitutional rights to direct the upbringing of her child. Further

12       Defendants' actions as alleged herein do not further any such interest, is not nanowly tailored to

13       so, and is without any rational basis.

l4               78. Pagaran inadequately trained and /or supervised Caldeira and Baraki, knew of
15       acquiesced to the constitutional deprivations alleged herein, and was deliberately indifferent to

T6       Konen's parental rights.

t7               79.      Ms. Konen has suffered severe or extreme emotional distress and monetarv losses

18       were actually and proximately caused by Defendants' conduct.

19               80. Defendants' actions, as alleged herein, were grossly negligent, in reckless disregard
20       Ms. Konen's rights, wanton, willful, malicious, and oppressive.

2t                                          SECOND CAUSE OF ACTION
22                         CONSPIRACY TO VIOLATE CONSTITUTIONAL RIGHTS
23                                      rN vroLATroN oF 42 U.S.C. $ 198s(3)
24               81. Plaintiffs incorporate all allegations ofthis Complaint as if set forth in full herein.
25               82. Defendants formed and operated a conspiracy by agreeing to undertake a common
26       or design for the purpose of violating Ms. Konen's constitutional rights as alleged herein.
27       evidenced by the title of Caldeira and Baraki CTA Convention workshop, Defendants predicated

28       policies and actions on the beliefthat parents with a conservative political or religious affiliation

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 1   not be trusted with information about their children's change in gender identity and expression, a beli

 2   that constitutions class-based, invidiously discriminatory animus.
 a
 J           83.     Defendants committed wrongful acts in furtherance of the conspiracy by, among

 4   things: (1) manipulating A.G. into believing she was bisexual and that her gender did not match

 5   biological sex; (2) excluding Ms. Konen from discussions regarding A.G.'s assertion of a new

 6   identity and expression and adopting protocols aimed at secretively affirming A.G's new

 7   identity and expression; (3) deceiving Ms. Konen by instructing A.G. not to tell her about the

 8   gender identity and expression; (4) deceiving Ms. Konen by refering to A.G. by one name

 9   pronouns in communications with her while referring to A.G. by a different name and pronoun

10   outside of her presence; (5) usurping Ms. Konen's responsibility for the health and well-being of A.G

11   and seeking to supplant their authority for Ms. Konen's authority as parent to be the ultimate

l2   maker regarding A.G.'s mental health and well-being, including decisions related to A.G.'s

t3   identity and expression and mental health; (6) impermissibly injecting themselves into the pri

l4   realm of Ms. Konen's family and usurping Ms. Konen's right to make decisions regarding A.G.'

15   gender identity and expression and mental health and well-being; and (7) informing A.G. that

t6   mother did not "support" her sufficiently to participate in decision-making related to her gen

17   identity and expression, thereby sowing seeds of doubt in A.G.'s mind about whether Ms. Konen

18   acting in her best interest and creating a rift in the parent-child relationship.

l9           84. Ms. Konen has suffered severe or extreme emotional distress and monetary losses
20   were actually and proximately caused by Defendants' conduct.

2I           85. Defendants' actions as alleged herein, were grossly negligent, in reckless disregard
22   Plaintiffs' rights, wanton, willful, malicious, and oppressive,

ZJ
^a                                        THIRD CAUSE OF ACTION
24       TNTENTTONAL INF',LICTION OF EMOTTONAL DISTRESS / GOV'T CODE g 815.2

25          86. Plaintiffs incorporate all allegations of this Complaint as if set forth in full herein.
26          87. Defendants have engaged in extreme and outrageous conduct with malice and
27   intention of causing, or reckless disregard for the probability of causing, emotional distress

28   Plaintiffs. Specifically, Defendants engaged in extreme and outrageous conduct in the following way

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     1   among others: (1) rnanipulating A.G. into believing she was bisexual and that her gender did not

 2       her biological sex; (2) excluding Ms. Konen from discussions regarding A.G.'s asseftion of a n

 J       gender identity and expression and adopting protocols aimed at secretively affirming A.G's

 4       gender identity and expression; (3) deceiving Ms. Konen by instructing A.G. not to tell her about

 5       new gender identity and expression; (4) deceiving Ms. Konen by referring to A.G. by one name

 6       pronouns in communications with her while referring to A.G. by a different name and pronoun

 7       outside of her presence; (5) usurping Ms. Konen's responsibility for the health and well-being of A.G

 8       and seeking to supplant their authority for Ms. Konen's authority as parent to be the ulti

 9       decisionmaker regarding A.G.'s mental health and well-being, including decisions related to A.G.'

10       gender identity and expression and mental health; (6) impermissibly injecting themselves into th

11       private realm of Ms. Konen's family and usurping Ms.Konen's right to make decisions regardi

t2       A.G.'s gender identity and expression and mental health and well-being (7) informing A.G. that

13       mother did not "support" her sufficiently to participate in decision-making related to her

I4       identity and expression, thereby sowing seeds of doubt in A.G.'s mind about whether Ms. Konen

l5       acting in her best interest and creating a rift in the parent-child relationship; and (8) failing

16       adequately train and / or supervise Caldeira and Baraki in such a way that they were permitted

T7       commit the violations of law set forth herein despite knowing their dangerous proclivities

18       deception ofparents.

19               88. Plaintiffs have suffered severe or extreme emotional distress and monetary losses
20       were actually and proximately caused by Defendants' conduct.

2t               89. Defendants' actions, as alleged herein, were grossly negligent, in reckless disregard
22       Plaintiffs' rights, wantono willful, malicious, and oppressive.

23                                          FOURTH CAUSE OF ACTION
24                                     NEGLIGENCE / GOV'T CODE $ 815.2
25             (Negligence, Negligent Infliction of Emotional Distress, and Negligent Supervision)

26              90. Plaintiffs incorporate all allegations of this Complaint as if set forth in full herein.
27              91, As A.G.'s school, principal, and teachers, Defendants were in a special
28       with A.G. This special relationship imposed upon Defendants the duty not to harm A.G. and to

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     I    all reasonable steps to protect her fi'om foreseeable dangers, including, but not limited to, those

     2    by other Spreckels Union employees.
     a
     J            92.     Because Defendants engaged in a cover-up to conceal information from Ms.

 4        about A.G.'s new gender identity and expression and use of the teachers' restroom and becaus

     5    Defendants should have foreseen that this concealment would cause Ms. Konen more em

 6        distress than merely inforrning her of these facts in the first place, Defendants also were in a

 7        relationship with Ms. Konen. As such, Defendants' deliberately usurped Ms. Konen's

 8        prerogative to protect A.G., and Ms. Konen is thus a direct victim of Defendants' negligence.

 9               93. Defendants breached their duties to Plaintiffs by, among other things: (1) mani
10       A.G. into believing she was bisexual and that her gender did not match her biological sex; (2
11       excluding Ms. Konen from discussions regarding A.G.'s assertion of a new gender identity

I2       expression and adopting protocols aimed at secretively affirming A.G's new gender identity an

13       expression; (3) deceiving Ms. Konen by instructing A.G. not to tell her about the new gender

14       and expression; (4) deceiving Ms. Konen by refering to A.G. by one name and pronouns

15       communications with her while referring to A.G. by a different name and pronouns outside of

t6       presence; (5) usurping Ms. Konen's responsibility for the health and well-being of A.G. and

t7       to supplant their authority for Ms. Konen's authority as parent to be the ultimate
l8       regarding A.G.'s mental health and well-being, including decisions related to A.G.'s gender

t9       and expression and mental health; (6) impermissibly injecting themselves into the private realm

20       Ms. Konen's family and usurping Ms. Konen's right to make decisions regarding A.G.'s

2l       identity and expression and mental health and well-being; (7) informing A.G. that her mother did

22       "support" her sufficiently to participate in decision-making related to her gender identity
23       expression, thereby sowing seeds of doubt in A.G.'s mind about whether Ms. Konen was acting in

24       best interest and creating a rift in the parent-child relationship; and (8) failing to adequately train

25       / or supervise Caldeira and Baraki in such away that they were permitted to commit the violations

26       law set forth herein despite knowing their dangerous proclivities and deception of parents.

27              94. Plaintiffs have suffered severe or extreme emotional distress and monetary losses
28       were actually and proximately caused by Defendants, conduct.

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     I            95. Defendants' actions, as alleged herein, were grossly negligent, in reckless disregard o
 2        Plaintiffs' rights, wanton, willful, malicious, and oppressive.
 a
 J                                            FIFTH CAUSE OF ACTION
 4                          NEGLIGENCE pEft,SEl GOV'T CODE $$ 815.2 AND 815.6
 5                                   (Violation of Cal. Educ. Code g 51100, et seq.)

 6                96. Plaintiffs incorporate all allegations of this Complaint as if set forth in full herein.
 7                97 . Under Cal. Educ. Code $ 51 100, it is the public policy of this State that "parents

 8       school age children attending public schools [should be involved] in improving public

 9       institutions" and that "involving parents . . . in the education process is fundamental to healthy

10       of public education." Under Cal. Educ. Code $ 51101(a)(9), (10) (12), Defendants owed Ms.

11       a duty to "inform[ her] of [A.G.'s] progress in school," to provide her access to A.G.'s "

12       records," to "inform[ her] . . . about school rules," and to allow her to "participate in [A.G.'s

T3       education."

t4                98. These duties were designed to protect against the particular types of injuries al
15       herein

l6                99. Defendants breached these duties by, among other things: (1) failing to provide
17       to Ms. Konen of the Parental Secrecy Policy; (2) excluding Ms. Konen from discussions regard

18       A.G.'s assertion of a new gender identity and expression and adopting protocols aimed at

l9       affirming the new gender identity and expression; (3) deceiving Ms. Konen by instructing A.G. not

20       tell her mother about her new gender identity and expression; (4) deceiving Ms. Konen by referring

2t       A.G. by one name and pronouns in communications with her while referring to A.G. by a di

22       name and pronouns outside of her presence; (5) usurping Ms. Konen's responsibility for the

23       and well-being of A.G. and seeking to supplant their authority for Ms. Konen's authority as parent

24       be the ultimate decisionmaker regarding the mental health of A.G., including decisions related

25       A.G.'s gender identity and expression and mental health and well-being; (6) impermissibly inj

26       themselves into the private realm of Ms. Konen's family and usurping Ms. Konen's right to

27       decisions regarding A.G.'s gender identity and expression and mental health and well-being;

28       informing A.G. that her mother did not "support" her sufficiently to participate in deci

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     I    related to her gender identity and expression, thereby sowing seeds of doubt in A.G.'s rnind a

 2        whether Ms. Konen is acting in her best interest and creating a rift in the parent-child relationship;
     a
 J        (8) failing to adequately train and / or supervise Caldeira and Baraki in such a way that they

 4        permitted to commit the violations of law set forth herein despite knowing their dangerous procliv

 5        and deception of parents.

 6               100' Plaintiffs have suffered severe or extreme emotional distress and monetary losses
 7       were actually and proximately caused by Defendants' conduct.

 8               l0l.    Defendants'actions, as alleged herein, were grossly negligent, in reckless disregard

 9       Plaintiffs' rights, wanton, willful, malicious, and oppressive.

10                                            SIXTH CAUSE OF ACTION
11                              VTOLATION OF BANE ACT IGOV'T CODE g S15.2
12                                               (Cal Civ. Code g 52.1(b))
T3               102. Ms. Konen incorporates all allegations of this Complaint as if set forth in full herein
14               103. The Due Process Clause of the 14th Amendment to the United States
15       protects the fundamental rights of parents to direct the upbringing of their children; to make

l6       concerning the care, custody, and control of their children; to direct the medical and mental

l7       decision-making for their children; and to make private familial decisions regarding their

18       without interference by the state, among other things.

19               104. Defendants have infringed upon Ms. Konen's parental rights under the Due
20       Clause by, among other things: (1) manipulating A.G. into believing she was bisexual and that

2t       gender did not match her biological sex; (2) excluding Ms. Konen from discussions regarding A.G.'

22       assertion of a new gender identity and expression and adopting protocols aimed at secreti

23       affirming A.G's new gender identity and expression; (3) deceiving Ms. Konen by instructing A.G.

24       to tell her about the new gender identity and expression; (4) deceiving Ms. Konen by refering to A.G

25       by one name and pronouns in communications with her while refering to A.G. by a different

26       and pronouns outside of her presence; (5) usurping Ms. Konen's responsibility for the health and well

27       being of A.G. and seeking to supplant their authority for Ms. Konen's authority as parent to be

28       ultimate decisionmaker regarding A.G.'s mental health and well-being, including decisions related

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      1    A.G.'s gender identity and expression and mental health; (6) impermissibly injecting themselves

     2     the private realm of Ms. Konen's farnily and usurping Ms. Konen's right to make decisions
                                                                                                           regard
     a
     J     A.G.'s Eender identity and expression and mental health and well-being; (7) informing A.G. that

     4     mother did not "suppolt" her sufficiently to participate in decision-making related to her

     5     identity and expression, thereby sowing seeds of doubt in A.G.'s mind about whether Ms. Konen

     6     acting in her best interest and creating a rift in the parent-child relationship; and (g) failing

     7     adequately train andlor supervise Caldeira and Baraki in such a way that they were permitted

     8     commit the violations of law set forth herein despite knowing their dangerous proclivities

     9     deception ofparents.

 10                105. Defendants have no compelling, significant, impoftant, or legitimate interest that
 11        served by disregarding Ms. Konen's constitutional rights to direct the upbringing of her child.
                                                                                                             Further
 l2        Defendants' actions as alleged herein do not further any such interest, is not narrowly tailored to

 13        so, and is without any rational basis.

14                 106. Defendants accomplished or attempted to accomplish the infringement ofMs. Konen,
15        rights under the Due Process Clause through coercion. Specifically, Caldeira and Baraki were A.G.,

16        teachers and, by imposition of their authority as such, their directive to A.G. to withhold

17        from her mother was unlawfully coercive in violation of the Bane Act.

l8                107. Plaintiffs have suffered severe or extreme emotional distress and monetary losses
l9        were actually and proximately caused by Defendants, conduct.

20                108. Defendants' actions, as alleged herein, were grossly negligent, in reckless disregard
2t        Plaintiffs' rights, wanton, willful, malicious, and oppressive.

22                                          SEVENTH CAUSE OF ACTION
23                                                  CIVL CONSPIRACY
24                                      (Against Caldeira, Baraki, and pagaran)
25                109. Plaintiffs incorporate all allegations of this Complaint as if set forth in full herein.
26                ll0.   Caldeira, Baraki, andPagaran formed and operated a conspiracy by agreeing to

27        common plan or design to commit tortious acts as alleged herein. Caldeira, Baraki, and pagaran

28

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 1   actual knowledge that a toft was planned and concurred in the tortious scheme with knowledge of its

 2   unlawful purpose.
 a
 J           II   l.   Caldeira, Baraki, and Pagaran committed wrongful acts in furtherance of the conspiracy

 4   by, among other things: (1) manipulating A.G. into believing she was bisexual and that her gender did

 5   not match her biological sex; (2) excluding Ms. Konen from discussions regarding A.G.'s assertion ol

 6   a new gender identity and expression and adopting protocols aimed at secretively affirming A.G's new

 7   gender identity and expression; (3) deceiving Ms. Konen by instructing A.G. not to tell her about the

 8   new gender identity and expression; (4) deceiving Ms. Konen by referring to A.G. by one name and

 9   pronouns in communications with her while referring to A.G. by a different name and pronouns

10   outside of her presence; (5) usurping Ms. Konen's responsibility for the health and well-being of A.G.

11   and seeking to supplant their authority for Ms. Konen's authority as parent to be the ultimate

t2   decisionmaker regarding A.G.'s mental health and well-being, including decisions related to A.G.'s

13   gender identity and expression and mental health; (6) impermissibly injecting themselves into the

l4   private realm of Ms. Konen's family and usurping Ms.Konen's rightto make decisions regarding

15   A.G.'s gender identity and expression and mental health and well-being; and (7) informing A.G. that

t6   her mother did not "support" her sufficiently to participate in decision-making related to her gender

T7   identity and expression, thereby sowing seeds of doubt in A.G.'s mind about whether Ms. Konen was

l8   acting in her best interest and creating a rift in the parent-child relationship.

I9           112. Plaintiffs have suffered severe or extreme emotional distress and monetary losses that
20   were actually and proximately caused by Defendants' conduct.

27           113. The actions of Caldeira, Baraki, and Pagaran, as alleged herein, were grossly negligent,
22   in reckless disregard of Plaintiffs' rights, wanton, willful, malicious, and oppressive.

23                                            PRAYER FOR RELIEF
24          WHEREFORE, Plaintiffs pray this Court grant the relief requested herein, specifically that thl

25   Court render the following judgment in Plaintiffs' favor and against Defendants:

26          i.         A declaration that Defendants violated Plaintiffs' rights as alleged herein;
27          ii.        Nominal, compensatory, treble, and punitive damages in an amount greater thal
28   $25,000;                                                                                                   I




                                                          23                                                    I




     complaint                                                                                                  I


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 1          iii.   Attorneys' fees and costs pursuantto 42 U.S.C. $ 1988, California CivilCode $ 52.1(i)

 2   and California Code of Civil Procedure g 1021.5; and
 a
 J          iv.    Such other relief as the Court deems proper.

 4

 5                                                   DHILLON LAW GROUP INC.
 6   Date: June 14,2022

 7                                            By:
                                                                  K. DHILLON (SBN: 207873)
 8
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l8                                                   *Pro hac vice motion forthcoming

T9
                                                     Attorneysfor Plaintffi Jessica Konen and A.G.,
                                                     her minor child
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 1


 2                                           DEMAND FOR JURY TRIAL
 a
 J          Plaintiffs demand trial by jury in this action of all issues so triable.

 4

 5                                                       D          N LAW GROUP INC
 6   Date: June 14,2022

 7                                               By
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                                                          Mount Airy, MD 21771
16
                                                          Telephone: (7 03) 687 -6212
t7                                                        Facsimile: (517) 465-9683

18                                                       *Pro hac vice motion forthcoming

l9                                                       Attorneysfor Plaintffi Jessica Konen and A.G.,
20                                                       her minor child

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                                                         25

     Complaint
Case 5:22-cv-05195-EJD Document 1-1 Filed 09/12/22 Page 27 of 38




        EXHIBIT B
                     Case 5:22-cv-05195-EJD Document 1-1 Filed 09/12/22 Page 28 of 38




  ATTORNEY OR PARTY WTHOUT       ATTORNEY;                 STATE BAR NO:                                           FOR COURT USE ONLY
  N^ME: Harmeet K. Dhillon (SBN 207873yMatthew M. Hoesly (SBN 289593)
  F|RM NAUE: Dhillon Law Group lnc.
  srREErADDREssr       177 Post Street, Suite 700
  clrY; SanFrancisco                                            srATE:   CA    zrpcooe:9410B
  TELEPHoNENo.: 415-433-1700                                   rexruo.:415.520.6593
  E-MA|L ADDRESS: Harmeet@DhillOnlaw.com

  ArroRNEy FoR (/vane): PlaintiffS JeSSiCa Konen, and A.G., her minor child

  SUPERIOR COURT OF CALIFORNIA, COUNTY OFMonterey
   STREETAoDRESS; 1200 Aguajito Road
   MAILTNGADDRESS:       1200 Aguajito ROad
  clrY AND zlP coDE, Monterey 93940
       BRANCH NArilE: MOnterey COUTthOUSe


       Plaintiff/Petitioner: JESSICA KONEN, et al.
  DefendanVRespondent: LORI CALDEIRA, in her personal capacity, el al
                                                                                                    CASE NUMBER:
                 NOTICE AND ACKNOWLEDGMENT OF RECEIPT_CIVIL                                         22CV001813


 TO (insert name of parly being serued): Defendant KATELYN PAGARAN, in her personal capacitv

                                                                              NOTICE
      The summons and other documents identified below are being served pursuant to section 415,30 of the California Code of Civil
      Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
      (or the parly on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
      on you in any other manner permitted by law.
     lf you are being served on behalf of a corporation, an unincorporated association (including a partnership), orotherentlty, this
     form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
     entity. ln all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge recelpt of
     summons. lf you return this form to the sender, service of a summons is deemed complete on tho day you sign the
     acknowledgment of receipt below.


 Date of mailing: Auqust 15,2022


                                 Harmeei K. Dhillon
                                  (ryPE OR PRINT NAME)                                                 SENDER-MUST NOT BE A PARTY IN THIS CASE)



                                                         ACKNOWLEDGMENT OF RECEIPT
This acknowledges receipt of (to be completed by sender before mailing):

1. T.l Acopy ofthesummons and of thecomplaint.
2. m          Other (specw):


              Complaint, Civil Case Cover Sheet, Notice of Assignment and Case Management Conference



(To be completed hy recipient):

Date this form is signedr          A                 L4Zz--
                      Lc'r"t,g,                                 {
                (ryPE OR PRINT YOUR NAME AND NAME OF ENTIry, IF ANY,
                       ON WHOSE BEHALF THIS FORI\4 IS SIGNED)                                       IS MAOE ON                           OR ENTITY}




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Form Adopted for Mandatory Use
Judicial Council of Calilornia
                                          NOTICE AND ACKNOWLEDGMENT OF RECEIPT _ CIVIL                                            Codo ot Civll Procodure,
                                                                                                                                       ss 41s,30, 4 17.'10
POS-015 lRev. January 1, 20051                                                                                                       ww.cowlinlo-ea.gov
For your protection and privacy, please press the Clear
Thls Form button after you have printed the form.                      Prlnt thls form    Save this form
                      Case 5:22-cv-05195-EJD Document 1-1 Filed 09/12/22 Page 29 of 38




    ATTORNEY OR PARTY WITHoUT       ATToRNEYj               STATE BAR No:
                                                                                                                     FAR COURI USE ONLY
    NAME: Harmeet        K. Dhillon (SBN 207S73yMatthew M. Hoesly (SBN 289593)
    FIRM NAIIE;   Dhillon Law Group lnc.
    STREETADDRESS: 177 Post Street, Suite 700
   clrv: San      Francisco                                      srATE;   CA    ztpcoDE: g410B
   rELEpHoNENo.:     415-433-1700                               rAXro,:415.520.6593
   E-MATLADDRESS: Harmeet@Dhillonlaw.com

   ATTORNEY FoR (NEn"y:        Plsintiffs Jessica Konen, and A.G., her minor child
   SUPERIOR COURT OF CALIFORNIA, CoUNTY oFMonleroy
    srREErADoRESS| 1200 Aguajito Road
    [rArLrNG ADDRESS:1200 Aguajito Road
   clrYANDzlPcoDE: Monterey93940
       BRANCH NAi/E; Monterey COUrthOuSe


        Plaintiff/Petitioner: JESSICA KONEN, et al.
   Defendant/Respondent: LORI CALDEIRA, in her personal capacity, et al

                                                                                                      CASE NUMBER:
                   NOTICE AND ACKNOWLEDGMENT OF RECEIPT_CIVIL                                         22CV001813


  f Q (nseft name of party being served) Defendant SPRECKELS UNION SCHOOL DIST RICT

                                                                               NOTICE
      The summons and other documents identified below are being served pursuant to section 415,30 of the California Code of Civil
      Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
      (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
      on you in any other manner permitted by law,
      lf you are being served on behalf of a corporation, an unincorporated association (including a partnership), orotherentity, this
      form must be signed by you in the name of such entity or by a person authorized lo receive seryice of process on behalf of such
      enlity. ln all other cases, this form must be signed by you personally or by a porson authorized by you to acknowledge receipt of
      summons. lf you relurn this form to the sender, service of a summons is deemed complete on the day you sign the
      acknowledgment of receipt below.


 Date of mailing:         Auqust 15,2022


                                    Harmeet K. Dhillon
                                    (TYPE OR PRINT NAME)                                               OF SENDER_MUST NOT BE A PARTY IN THIS CASE)



                                                           ACKNOWLEDGMENT OF RECEIPT
 This acknowledges receipt of (to be completed by sender before maiting):

 1. l*:l A copy of the summons and of the complaint.
 2. Il_l Olher (specify):

               Complaint, Civil Case Cover Shoet, Notice of Assignment and Case Management Conference



(To be completed by recipient):

Date this form is sisned           : 6 {Ztll+:ZZ
                                    t5 'A,       Le-o*e*
                  (TYPE OR PRINT YOUR NAME AND NAME OF ENTry. IF ANY.
                         ON WHOSE DEHALF THIS FORM IS SIGNED)                                                ON        OF ANOTHER           OR




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Form Adoplod tor i,4andalory Uso
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Judicial Council of California
                                                                                                                                          $s 415.30,417.10
POS{'15 [RsL Jsnusry 1, 20051                                                                                                          www.coudinlo, ca,gov
For your protectlon and privacy, please press the Glear
This Form button after you have printed the form.                       Prlnt thls          Save this form
Case 5:22-cv-05195-EJD Document 1-1 Filed 09/12/22 Page 30 of 38




         EXHIBITC
                  Case 5:22-cv-05195-EJD Document 1-1 Filed 09/12/22 Page 31 of 38

                                                        [Exempt from payment of filing fees
                                                            (Government Gode S 6103)l

     I   LOUIS A. LEONE, ESQ. (Of Counsel) (SBN 099874)
         BRTAN A. DUUS, ESO. (SBN 263403)
 2
         JtMMtE E. JOHNSON, ESQ. (SBN 223344)
 3       LEONE ALBERTS & DUUS                                        ELECTRONICALLY FILED
         A Professional Corporation                                  Superior Court of California,
 4       1390 Willow Pass Road, Suite 700                            County of Monterey
 q       Concord, CA94520-7913                                       On 91812022 11.21 AM
         Telephone: (925)974-8600                                    By: Veronica Green, Deputy
 6       Facsimile: (925) 974-8601
         Email: lleone@leonea lberts. conr
 7
                  d U    leonealberts
 I              iioh nson@ leonea lberts. conr

 9       Attorneys for DEFEN DANTS
         SPRECKELS UNION SCHOOL DISTRICT
10
         And KATELYN PAGARAN
11
                                      SUPERIOR COURT OF CALIFORNIA
12
                                          COUNTY OF MONTEREY
13
         JESSICA KONEN and A.G., her minor              Case No.: 22CV001813
14       child,

15                      Plaintiffs,
16
                                                        ANSWER BY DEFENDANTS
                  VS,                                   SPRECKELS UNION SCHOOL DISTRI
17                                                      AND KATELYN PAGARAN TO
         LORI CALDEIRA, in her personal capacity,       PLAINTIFFS' COMPLAINT
t6
         KELLY BARAKI, in her personal capacity;
19
         KATELYN PAGARAN, in her personal
         capacity; and SPRECKELS UNION
20       SCHOOL DISTRICT,
21
                        Defendants
22

ZJ                                                      Complaint Filed: June 27,2022
                                                        Trial Date: Not Yet Set
24

25

26

27                Comes now DEFENDANTS SPRECKELS UNION SCHOOL DISTRICT
28       (" D|STR lCT") and KATE LYN PAGARAN (" PAcARAN")(collectively       "DE FE N DANTS')

                                                    1



         ANSWER BY DEFENDANTS SPRECKELS UNION SCHOOL DISTRICT AND KATELYN PAGARAN TO
         PLAINTIFFS' COMPLAINT
               Case 5:22-cv-05195-EJD Document 1-1 Filed 09/12/22 Page 32 of 38




     I    to answer the complaint of PLAINTIFFS JESSIcA KoNEN ("KoNEN') and A.G., her
  2       minor child ("A.G.") (collectively "PLAINTIFFS"), on file herein, and DEFENDANTS
  a
  J       admit, deny, and allege as follows.
 4                                           GENERAL DENIAL
  q,
                 Under the provisions of Section 431.30(d) of the California Code of Civil
 6        Procedure, DEFENDANTS deny each and every, all and singular, generaily and
 7        specifically, the allegations contained in said Complaint, and further deny that
 B        PLAINTIFFS have been damaged in any sum or sums, or at all, by reason of any act
 I        omission on the part of these answering DEFENDANTS.
'10
                DEFENDANTS assert the following Affirmative Defenses and reserve the right to
11        supplement the Affirmative Defenses in the course of this proceeding:
12                                      AFFIRMATI         DEFENSES
13                                    FIRST AFFIRMATIVE DEFENSE
14                                         (Failure to State Claim)
15              1. DEFENDANTS allege that PLAINTIFFS' Complaint fails to state facts
16        sufficient to state a claim upon which relief can be granted.
17                                  SECOND AFFI              E DEFENSE
1B                                           (Statute of Limitations)
19              2. DEFENDANTS allege that PLAINTIFFS' Comptaint is barred by ail
20        applicable statutes of limitations including, but not limited to, Cal. Gov't Code SS 911.2
21        and 945.6, and cal. code civ. Proc. SS 335, et seq., including cal. code civ. proc. g
22        335.1 as it relates to both federal and state causes of action.
23                                   THIRD AFFIRM             DEFENSE
24                                          (Waiver and Estoppel)
25              3. DEFENDANTS allege that PLAINTIFFS' Comptaint is barred by the
26       doctrines of waiver and estoppel.
27       t/
28       il
                                                      2

         ANSWER BY DEFENDANTS SPRECKELS UNION SCHOOL DISTRICT AND KATELYN PAGARAN TO
         PLAINTIFFS' COMPLAINT
               Case 5:22-cv-05195-EJD Document 1-1 Filed 09/12/22 Page 33 of 38




     1
                                   FO URTH AFFIRMATIVE DEFENSE
  2                                               (Laches)
  a
  J             4.    DEFENDANTS allege that PLAINTIFFS' Complaint is barred by the doctri
 4        of laches
  E
                                     FIFTH AFFIRMATIVE DEFENSE
 6                                (NegligenUCulpable Conduct of Others)
 7              5. DEFENDANTS allege that the injuries and damages sustained by
 I        PLAINTIFFS, if any, were caused in whole or in part by the negligent and/or culpable
 o
          conduct of others, for which DEFENDANTS are not liable.
10                                   SIXTH AFFIRMATIVE DEFENSE
11                                          (Failure to Mitigate)
12              6. DEFENDANTS allege that PLAINTIFFS' Complaint is barred in whole or in
13        part by PLAINTIFFS'failure to mitigate their damages.
14                                SEVENTH AFFIRMATIVE DEFENSE
15                                 (Governmental lm mu n ities/Defenses)
16              7. DEFENDANTS allege that PLAINTIFFS' Complaint is barred in whole or in
4-7
          part because all actions and conduct by DEFENDANTS and their agents or employees
18       were justified and subject to governmental immunities and defenses, including but not
19        limited to the immunities and defenses arising under the United States Constitution and
20       federal law, immunities arising under the California Constitution and California law,
21        immunities arising under Government Code Sections 810, ef seq. including, but not
22        limited to, Sections 815, 815.2,818, 81 8.2, 818.8, 820.2, 820.4,820.6, 820.8, 821 .6,
23        and 822.2. This would include the discretionary immunity contained in Government
24       Code Section 820.2 with respect to discretionary decisions with respect to policies,
t3       conduct and procedures of school operation.
26       il
27       il
2B       il
                                                     3

         ANSWER BY DEFENDANTS SPRECKELS UNION SCHOOL DISTRICT AND KATELYN PAGARAN TO
         PLAINTIFFS' COMPLAINT
               Case 5:22-cv-05195-EJD Document 1-1 Filed 09/12/22 Page 34 of 38




     1
                                      EIGHTH AFFIRM ATIVE DEFENSE
     2                                          (Lack of Standing)
     a
                 8.   DEFENDANTS allege that PLAINTIFF JESSICA KONEN lacks legal
 4        standing and as such her claims are barred.
 5                                     NINTH AFFIR          TIVE DEFENSE
 t)                                              (Proposition 51)
 7             9. DEFENDANTS allege that the provisions of the Fair Responsibility Act of
 I        1986 (commonly known as Proposition 51, Civil Code Sections 1430 - 1432) are
 o
          applicable to this action to the extent that PLAINTIFFS' injuries and damages, if any,
10        were legally caused or contributed to by the negligence or fault of persons or entities
11        other than these DEFENDANTS. Such negligence or apportionment of fault does not
12        include any such on the part of the minor plaintiff in this action.

                                      TENTH AFFIRM TIVE DEFENSE
14                                  (Failure to Comply with Claim Statute)
15              10. DEFENDANTS allege that PLAINTIFFS'Complaint is barred by
16        PLAINTIFFS'failure to comply with the California Tort Claims Act, Government Code
tt        section 905, ef seq., claims presentation requirements in that PLAINTIFFS failed to
1B        timely present a claim asserting all causes of action and/or all factual and legal bases
19        for liability asserted in the Complaint, and/or failed to timely file suit following the denial
20        of said claim. Moreover, all causes of action, factual and/or legal allegations asserted
21        in the Complaint that were not asserted in any claim presented by PLAINTIFFS are
22        barred under the California Tort Claims Act.
23                                  ELEVENTH AFFIRMATIVE DEFENSE
24                                           (No Punitive Damages)
25              11. DEFENDANTS allege that as a public entity, the DISTRICT is immune from
zo       punitive damages pursuant to Government Code Section 818.
27       il
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         ANSWER BY DEFENDANTS SPRECKELS UNION SCHOOL DISTRICT AND KATELYN PAGARAN TO
         PLAINTIFFS' COMPLAINT
                   Case 5:22-cv-05195-EJD Document 1-1 Filed 09/12/22 Page 35 of 38




      I                                TWELFTH AFFI           ATIVE DEFENSE
     2
                                                 (Qualified lmmunity)
     J               12. DEFENDANTS allege that PLAINTIFFS did not have any clearly
  4            established statutory or constitutional rights of which DEFENDANTS knew, or should
     A
               have known, which required DEFENDANTS to act differently or to direct their
  b            subordinates to act differently, and therefore DEFENDANTS are immune from
  7            PLAINTIFFS' allegations, causes of action, and from liability under the doctrine of
               qualified immunity.
  I                                  THIRTEENTH AFFIRMATIVE DEFENSE
10                                          (No Constitutional Violation)
11                   13. DEFENDANTS allege that DEFENDANTS and their officers, agents or
12        employees held a good faith and reasonable belief at all times in connection with the
 IJ       matters alleged herein that their actions and their subordinates' actions did not violate
14        any established constitutional right.
15                                   FOURTEENTH AFFI RMATIVE DEFENSE
16                                              (Lack of Jurisdiction)
17                   14. DEFENDANTS allege that PLAINTIFFS' Complaint is barred based on a
18        lack of jurisdiction, and DEFENDANTS expressly reserve the right to challenge
19        jurisdiction herein.
20                                    FIFTEENTH AFFI           TIVE DEFENSE
21                        (DISTRICT is not a "Person" under 42 U.S.C SS 1983 and 1985)
22                  15. DEFENDANT DISTRICT alleges that as a political subdivision of the State
23         of california, it is not a "person" within the meaning of 42 u.s.c. SS 1983 and 19g5,
24         and therefore the DISTRICT is not subject to suit under those statutes, thus the
25         allegations to that effect in the Complaint are barred. Moreover, PLAINTIFFS'claims
26         are barred by the 11th Amendment to the United states constitution.
27        il
28        t/
                                                          A



          A NSWER BY DEFENDANTS SPRECKELS UNION SCHOOL DISTRICT AND KATELYN PAGARAN TO
          P LAINTIFFS' COMPLAINT
            Case 5:22-cv-05195-EJD Document 1-1 Filed 09/12/22 Page 36 of 38




  1
                               SIXTEENTH AFFIRMATIVE DEFENSE
 2                                       (Defenses unknown)
             16. DEFENDANTS presently have insufficient knowledge or information on
 4     which to form a belief as to whether they may have additional, as yet unstated,
 5     defenses available. DEFENDANTS reserve the right to assert additional defenses in
 6     the event discovery indicates that they would be appropriate.
 7                                      PRAYER FOR RELIEF
 B           WHEREFORE, these answering DEFENDANTS pray that PLAINTIFFS take
 I     nothing by their Complaint and that these answering DEFENDANTS be dismissed with
10     costs of suit incurred herein and for such other and further relief as the Court deems fit
11     and proper.
12


      Dated: September 8, 2022                  LEONE ALBERTS & DUUS
14


15                                                h",ffirr fr
                                                BRIAN A. DUUS, ESQ.
16
                                                Attorneys for DEFENDANTS
17
                                                SPRECKELS UNION SCHOOL DISTRICT and
                                                KATELYN PAGARAN
18

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      ANSWER BY DEFENDANTS SPRECKELS UNION SCHOOL DISTRICT AND KATELYN PAGARAN TO
      PLAINTIFFS' COMPLAINT
               Case 5:22-cv-05195-EJD Document 1-1 Filed 09/12/22 Page 37 of 38




     1
                Re: Jessica Konen- et al. v. Lori Caldeira. et al.
     2
                       Contra Gosta County Superior Court Case No.: C22-01336

     a                                     PROO F OF SERVICE

     4          l, the undersigned, declare that I am employed in the City of Concord, State of

     5   California. I am over the age of 18 years and not a party to the within cause; my
  6      business address is 1390 Willow Pass Road, Suite 700, concord, California.

  7             On September 8, 2022,1 served the following documents:

  B                ANSWER BY DEFENDANTS SPRECKELS UNION SCHOOL
                   DISTRICT AND KATELYN PAGARAN TO PLAINTIFFS' COMPLAINT
  9


10
         on the following interested party(s) in said cause:

11       PLAINTIFFS' COUNSEL
         Harmeet K. Dhillon
12
         DHILLON LAW GROUP, INC
13
         177 Post Street, Suite 700
         San Francisco, CA 94108
14       T. 415.433j700
         F. 415.520.6593
15
         E: harmeet@d illonlaw.com
16
         PLAINTIF FS'COUNSEL
17       Matthew M. Hoesley
         DHILLON LAW GROUP, INC.
1B
         2424 S.E. Bristol Street, Suite 300
'19      Newport Beach, CA 92660
         T: 949.396.0608
20       E: mhoesly@dhillonlaw.com
21
         PLAINTIFFS' COIJNSEL
22       Mark E. Trammell
         Joshua Wallace Dixon
23       CENTER FOR AMERICAN LIBERTY
         1311 S. Main Street, Suite 302
24
         Mount Airy, MD 21771
za       T: 703.687.6212
         F" 517.465.9683
26       E: mtrammel@libertvcenter.orq
)7       E. idixon@libertvcenter. orq

2B


                                                      7

         ANSWER BY DEFENDANTS SP RECKELS UNION SCHOOL DISTRICT AND KATELYN PAGARAN TO
         PLAINTIFFS' COMPLAINT
              Case 5:22-cv-05195-EJD Document 1-1 Filed 09/12/22 Page 38 of 38




          COUNS L FOR KELLY BA        Kl and
          LORI CALDEIRA
     2
          Mark E. Davis
     a    DAVIS BENGSTON & YOUNG
          1960 The Alameda, Suite 210
     4
          San Jose, CA 95126
     5
          T: 669.245.4200
          F: 408.985.1814
     6    E: mdavis@dbv-law.com

     7


     B
          VIA MAIL - GCP S$ 1013{a).201S.S
     I    X     By placing a true copy thereof enclosed in a sealed envelope(s), addressed as
 10
                above and placing each for collection and mailing on that date following ordinary
                business practices. I am readily familiar with my firm's business practice of
 11             collection and processing of correspondence for mailing with the United States
                Postal Service and correspondence placed for collection and mailing would be
 12
                deposited with the United States Postal Service at Concord, California, with
 13
                postage thereon fully prepaid, that same day in the ordinary course of business.

 14      VIA ELECTRONIC MAIL TRANSMISSION . CCP S1010.6
15
         X     By electronic transmission via email to the authorized electronic service
'16            address(es) given above.

17             I declare under penalty of perjury under the laws of the State of California that

18       the foregoing is true and correct and that this declaration was executed on September
19       8,2022, at Concord, California.
20

21


22
                                                  SYR               LS

23

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                                                    B

         ANSWER BY DEFENDANTS SPRECKELS UNION SCHO OL DISTRICT AND KATELYN PAGARAN TO
         PLAINTIFFS' COMPLAINT
